 

 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT
Eastem Disfr(‘)ilctd:)ef Wisconsin

In the Matter of the Search of:

Facebook URL: https://www.facebook.com/marlow.mike.75
Friend Identification Number: 1000215773 895 88, more fully
described in Attachment A.

CaseNo. ls° /'t' [2‘76

 

\/\/\/\/\/\/

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the govemment, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

Facebook URL: https://www.facebook.com/marlow.mike.75
Friend Identification \Number: 100021577389588, more fully described in Attachment A.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim P. 4l(c) is:
l:l evidence of a crime;
|:| contraband, fruits of crime, or other items illegally possessed;
|:| property designed for use, intended for use, or used in committing a crime;
E a person to be arrested or a person who is unlawfully restrained.

The search is related to Violations of:

The application is based on these facts: See attached affidavit

|:| Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

W/Z/__`_
' A;Tplz'cant ’s signature

Robert Bressers, Deputy U S Marshal
Printed Name and Tl'tle

Swom to befo and signed in my Presence; %~/ § [ 2 2 :
Date: » blfqm]g M/

Judge’ s signat e

 

City and State: Milw ukee Wiscons`n _ William E. Duftin U.S. Ma istrate Jud e
…Ioase : -mj- -WED Fl|ed O ag@,~ ,g ea omnan

 

 

AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
Robert Bressers, being first duly swom, states that:

. I make this affidavit in support of an application for a search warrant under 18 U.S.C. §§
2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) to require Facebook, Inc. to disclose to the
government records and information associated with a certain Facebook account that is
stored at premises owned, maintained, controlled, or operated by Facebook, Inc. , a social
networking company headquartered at 1601Willow Road, Menlo Park, CA 94025. The
accounts to be searched is described as:

Facebook URL: https://www.facebook.com/marlow.mike.75
Friend Identification Number: 1000215773895 88

The facts to establish probable cause for issuing the search warrant are as follows:

Background

. I am a Deputy U.S. Marshal with the U.S. Marshals Service, having been so employed
for over 8 years. As part of my duties, I investigate violations of federal and state laws,
including those relating to fugitives. I have also received specialized training in the
electronic communications field. I have approximately 5 years of experience using
social media accounts to locate and arrest fugitives.

. The information contained in this affidavit is based on my training and experience, as
well as information provided to me by other law enforcement officers and citizens, all of
whom I believe to be truthful and reliable. This affidavit is not an exhaustive account of
everything I know about this case. Rather, it contains only the facts that I believe are
necessary to establish probable cause to search the Facebook account, described above,
used by J ames Marlow Jr. (hereinafter MARLOW).

Facts Establishing Probable Cause

. On September 25, 2012, MARLOW pled guilty and was convicted of Unlawful Transport
of Firearms in Federal Court in the Eastem District of Wisconsin (E/WI). Court case
number 0757 2:12CR00061 - l. For this offense MARLOW received a sentence of 36
months of imprisonment; 12 months of which ran concurrent with, and 24 months of
which run consecutive to, the sentences MARLOW served in Racine County Circuit
Court Case numbers 04CF1276 and 07 CF4151, additionally MARLOW received 36
months of supervised release and a $100.00 special assessment

. On February 2, 2018 U.S. Probation Officer Michael J. Rudig petitioned U.S. District
Court Judge J.P. Stadtmueller in the Eastem District of Wisconsin for an arrest warrant
for MARLOW due to violations of supervised release conditions.

Case 2:18-mj-01246-WED Filed 04/25/18 Page 2 of 10 Document 1

10.

ll.

12.

13.

On February 2, 2018 District Judge J.P. Stadtmueller in the Eastem District of Wisconsin
issued a no bond arrest Wairant for MARLOW due to violations of supervised release
conditions

On February 8, 2018 Racine County Circuit Court, Branch 01 issued bench Warrants for
MARLOW on charges of Domestice Abuse, Domestic Battery, Disorderly Conduct and
Bail Jumping.

On February 21 , 2018 your affiant, along with members of the Great Lakes Regional
Fugitive Task Force (GLRFTF) attempted to locate and arrest MARLOW at 3917 E. Erie
St, Apt #4, 1312 Russet St. and 541 Shelboume Court, Apt #ll in Racine, WI.
MARLOW was not present at the addresses and remains a fugitive. These were then the
only know addresses used by MARLOW With his state and federal probation officers.

Agents then conducted an open search on Facebook.com, which revealed the following
Facebook profile:

Facebook URL: https://Www.facebook.com/marlow.mike.75
Friend Identification Number: 10002 1 5 77 3895 88 (hereinafcer “target
Facebook profile”)

Under the target Facebook profile, numerous publicly posted photos Were observed.
Those photos Were compared to MARLOW’s U.S. Marshal Service booking photo and
found to be the same person.

Furthermore, MARLOW’s ex-girlf`riend Artasia Echoles, advised agents that MARLOW
uses “Marlow Mike” as his Facebook profile usemame.

Additionally, the “Friends” section of the Facebook profile, “Marlow Mike” lists
MARLOW’s Barbara Hicks, Who I know from law enforcement and probation records to
be MARLOW’s sister. Additionally, one of the individuals listed as family, bears the
same name as a brother MARLOW provided to the US Marshals Service during
processing while in custody on her original offense.

Through my training and experience I know that people Who use social media sites such
as Facebook maintain relationships with family and friends through private messages
along with posting and exchanging of pictures. Having access to view those messages
and historical IP addresses often times provides crucial information that assists in
locating fugitives.

TECHNICAL BACKGROUND

Facebook owns and operates a free-access social networking website of the same name
that can be accessed at http://www.facebook.com. Facebook allows its users to establish
accounts with Facebook, and users can then use their accounts to share written news,
photographs, videos, and other information with other Facebook users, and sometimes
with the general public.

Case 2:18-mj-01246-WED Filed 04/25/18 Page 3 of 10 Document 1

Facebook asks users to provide basic contact information to Facebook, either during the
registration process or thereafter. This information may include the user’s full name,
birth date, contact e-mail addresses, physical address (including city, state, and zip code),
telephone numbers, screen names, websites, and other personal identifiers. Facebook
also assigns a user identification number to each account.

Facebook users can select different levels of privacy for the communications and
information associated with their Facebook accounts. By adjusting these privacy
settings, a Facebook user can make information available only to himself or herself, to
particular Facebook users, to all Facebook users, or to anyone with access to the Intemet,
including people who are not Facebook users.

Facebook accounts also include other account settings that users can adjust to control, for
example, the types of notifications they receive from Facebook. Facebook users may join
one or more groups or networks to connect and interact with other users who are
members of the same group or network. A Facebook user can also connect directly with
individual Facebook users by sending each user a “Friend Request.” If the recipient of a
“Friend Request” accepts the request, then the two users will become “Friends” for
purposes of Facebook and can exchange communications or view information about each
other. Each Facebook user’s account includes a list of that user’s “Friends” and a “Mini-
Feed,” which highlights information about the user’s “Friends,” such as profile changes,
upcoming events, and birthdays.

Facebook users can create profiles that include photographs, lists of personal interests,
and other information. Facebook users can also post “status” updates about their
whereabouts and actions, as well as links to videos, photographs, articles, and other items
available elsewhere on the Intemet. Facebook users can also post information about
upcoming “events,” such as social occasions, by listing the event’s time, location, host,
and guest list. A particular user’s profile page also includes a “Wall,” which is a space
where the user and his or her “Friends” can post messages, attachments, and links that
will typically be visible to anyone who can view the user’s profile.

Facebook has a Photos application, where users can upload an unlimited number of
albums and photos. Another feature of the Photos application is the ability to “tag” (i.e.,
label) other Facebook users in a photo or video. When a user is tagged in a photo or
video, he or she receives a notification of the tag and a link to see the photo or video.

For Facebook’s purposes, a user’s “Photoprint” includes all photos uploaded by that user
that have not been deleted, as well as all photos uploaded by any user that have that user
tagged in them.

Facebook users can exchange private messages on Facebook with other users. These
messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on
Facebook, which also stores copies of messages sent by _the recipient, as well as other
information. Facebook users can also post comments on the Facebook profiles of other
users or on their own profiles; such comments are typically associated with a specific

Case 2:18-mj-01246-WED Filed 04/25/18 Page 4 of 10 Document 1

10.

ll.

12.

l3.

l4.

posting or item on,the profile.

Facebook Notes is a blogging feature available to Facebook users, and it enables users to
write and post notes or personal web logs (“blogs”), or to import their blogs from other
services, such as Xanga, LiveJoumal, and Blogger.

The Facebook Gifcs feature allows users to send virtual “gifcs” to their friends that appear
as icons on the recipient’s profile page. Gifcs cost money to purchase, and a
personalized message can be attached to each gifc. Facebook users can also send each
other “pokes,” which are free and simply result in a notification to the recipient that he or
she has been “poked” by the sender.

Facebook also has a Marketplace feature, which allows users to post free classified ads.
Users can post items for sale, housing, j obs, and other items on the Marketplace.

ln addition to the applications described above, Facebook also provides its users with
access to thousands of other applications on the Facebook platform. When a Facebook
user accesses or uses one of these applications, an update about that the user’s access or
use of that application may appear on the user’s profile page.

Facebook uses the term “Neoprint” to describe an expanded view of a given user profile.
The “Neoprint” for a given user can include the following information from the user’s
profile: profile contact information; Mini-Feed information; status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings; friend lists,
including the friends’ Facebook user identification numbers; groups and networks of
which the user is a member,` including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments; ging
pokes; tags; and information about the user’s access and use of Facebook applications

Facebook also retains Intemet Protocol (“IP”) logs for a given user ID or IP address.
These logs may contain information about the actions taken by the user ID or IP address
on Facebook, including information about the type of action, the date and time of the
action, and the user ID and IP address associated with the action. For example, if a user
views a Facebook profile, that user’s IP log would reflect the fact that the user viewed the
profile, and would show when and from what IP address the user did so.

Social networking providers like Facebook typically retain additional information about
their users’ accounts, such as information about the length of service (including start
date), the types of service utilized, and the means and source of any payments associated
with the service (including any credit card or bank account number). ln some cases,
Facebook users may communicate directly with Facebook about issues relating to their
account, such as technical problems, billing inquiries, or complaints from other users.
Social networking providers like Facebook typically retain records about such
communications, including records of contacts between the user and the provider’s
support services, as well records of any actions taken by the provider or user as a result of
the communications

Case 2:18-mj-01246-WED Filed 04/25/18 Page 5 of 10 Document 1

 

15.

16.

17.

18.

Therefore, the computers of F'acebook are likely to contain all the material just described,
including stored electronic communications and information concerning subscribers and
their use of Facebook, such as account access information, transaction information, and
account application

I anticipate executing this warrant under the Electronic Communications Privacy Act, in
particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to
require Facebook, lnc. to disclose to the government copies of the records and other
information (including the content of communications) particularly described in
Attachment A under the following accounts:

Facebook URL: https://www.facebook.com/marlow.mike.75
Friend Identification Number: 100021577389588

CONCLUSION

Based on the information provided I respectfully submit that there is probable cause to
believe that information described`in Attachment B will aid in the apprehension and/or
prosecution of fugitive J ames MARLOW Jr.

I request that the Court issue the proposed search warrant. This Court has jurisdiction to
issue the requested warrant because it is “a court of competent jurisdiction” as defined by
18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) & (c)(l)(A). Specifically, the Court
is “a district court of the United States . . . that - has jurisdiction over the offense being
investigated.” 18 U.S.C. § 2711(3)(A)(i). Pursuant to 18 U.S.C. § 2703(g), the presence
of a law enforcement officer is not required for the service or execution of this warrant.

Case 2:18-mj-01246-WED Filed 04/25/18 Page 6 of 10 Document 1

 

ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with the Facebook URL:
https://Www.facebook.com/marlow.mike.75, Friend Identiiication Number: 100021577389588
that is stored at premises owned, maintained, controlled, or operated by Facebook Inc., a

company headquartered in Menlo Park, California.

Case 2:18-mj-01246-WED Filed 04/25/18 Page 7 of 10 Document 1

ATTACHMENT B

Particular Things to be Seized
I. Information to be disclosed by Facebook
To the extent that the information described in Attachment A is Within the possession, custody,
or control of Facebook Inc. (“Facebook”), including any messages, records, files, logs, or
information that have been deleted but are still available to Facebook, or have been preserved
pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the
following information to the government for each user ID listed in Attachment A for the time
period of January 21, 2018 through the date of this search warrant:

a. All contact and personal identifying information, including: full name, user
identification number, birth date, gender, contact e-mail addresses, Facebook
passwords, Facebook security questions and answers, physical address (including
city, state, and zip code), telephone numbers, screen names, websites, and other
personal identifiers

b. All activity logs for the account and all other documents showing the user’s posts
and other Facebook activities;

c. All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them;

d. All profile information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including

Case 2:18-mj-01246-WED Filed 04/25/18 Page 8 of 10 Document 1

the friends’ Facebook user identification numbers; groups and networks of which
the user is a member, including the groups’ Facebook group identification
numbers; future and past event postings; rejected “Friend” requests; comments;
gifts; pokes; tags; and information about the user’s access and use of Facebook
applications;

e. All other records of communications and messages made or received by the user,
including all private messages, chat history, video calling history, and pending
“Friend” requests;

f. All “check ins” and other location information;

g. All IP logs, including all records of the IP addresses that logged into the account;

h. All records of the account’s usage of the “Like” feature, including all Facebook
posts and all non-Facebook webpages and content that the user has “liked”;

i. All information about the Facebook pages that the account is or was a “fan” of;

j. All past and present lists of friends created by the account;

k. All records of Facebook searches performed by the account;

l. All information about the user’s access and use of Facebook Marketplace;

m. The types of service utilized by the user;

n. The length of service (including start date) and the means and source of any
payments associated with the service (including any credit card or bank account

number);

Case 2:18-mj-01246-WED Filed 04/25/18 Page 9 of 10 Document 1

 

o. All privacy settings and other account settings, including privacy settings for
individual Facebook posts and activities, and all records showing which Facebook
users have been blocked by the account; l

p. All records pertaining to communications between Facebook and any person
regarding the user or the user’s Facebook account, including contacts with support

services and records of actions taken.

Case 2:18-mj-01246-WED Filed 04/25/18 Page 10 of 10 Document 1

